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              Case 3:17-cv-00072-NKM-JCH Document 217 Filed 02/01/18 Page 1 of 2 Pageid#: 1127

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                                                          USDistrictCourt(CharlottesvilleDivision)                                                                    p-tn-ctcou14
                                                               Sines,etal.                                                   v                      M oonbase HoldingsLLC?c/oAndrew Anglin
                    c/o RobertCahill?Cooley LLP?l1951Freedom Dn've                                                                                                6827 N .High StreetSuite 121
                                                      Reston?VA 20190                                                                                                W orthington?OH 43085

             TO THE PERSON PREPARING THIS AFFIDAVIT'
                                                   . You mustcomply with theappropriate requirem entslisted on theback ofthisform .

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                                                    SERVICEREQUIREME onrev,rse).
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             NOTICE TO THE RECI-
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                                         ilth-èOfficeoftheExecutiveSecretary o
                                                                             -ftheCdmmonwealthofVirginia:                                                                                                       '
                   Y ou arebeing served with thisnotice andattached pleadingsunderSection 8.01-329 oftheCode ofVirginiawhich designates
                    theSecretal '
                                y ofthe Commonwealth asstatutory agentforServiceofProcess.The Secretary ofthe Comm onwealth's ONLY
                    responsibility isto mail,by certified mail,return receiptrequested,theenclosed papersto you.Ifyou haveany questions
                    concerning thesedocum ents,you may wish to seek advicefrom a lawyer.                          '
             SERVICE OF PROCESS IS EFFECTIVE ON THE DATE W HEN SERVICE IS M ADE ON THE SECRETARY OF THE
             COM M ONW EALTH.
                                                                                                   CERTIFICATE OF COM PLIANCE
             1,theundersigned-,Clerk intheOfficeoftheSecretaryoftheCommonwealth,herebycertifythefollowing-
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                    Colnmonwealth,asstatutory agentforpersonsto be served in accordan. with Sect n 8.01-329 ofthe Cod:( fVirginia,as amended.                                                            '



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             FORM DC-410FRONT 07/13
Case 3:17-cv-00072-NKM-JCH Document 217 Filed 02/01/18 Page 2 of 2 Pageid#: 1128



TIM ELY SERVICE REQUIREM ENT:
   Serviceofprocessin actionsbroughton awarrantormotion forjudgmentpursuanttoVirginiaCodej 16.1-
79orj 16.1-81shallbevoid and ofno effectwhen such serviceofprocessisreceivedbytheSecretarywithin
ten daysofany rettzrn day setby the warrant.ln such cases,the Secretary shallrettlrzltheprocess ornotice,the
copy oftheaftidavit,andthepresclibed feeto theplaintifforhisagent.A copy ofthenoticeoftherejection
shallbe sentto theclerk ofthe courtin which the action was filed.


NON-RESIDENCE GROUNDS REQUIREM ENT:
Ifbox num ber 1ischecked,insertthe appropliate subsection number:

A courtmayexercisepersonaljurisdictionoveraperson,whoactsdirectlyorbyanagent,astoacauseofaction
alising frop tlw peoon's:

         Transacting any businessin thisComm onwealth;
         Contracting to supply services orthingsin thisComm onwealth;
         CausingtortiousinjurybyanactoromissioninthisCommonwealth;
         CausingtortiousinjuryinthisCommonwea1thbyanactoromissionoutsidethisCommonwea1thifhe
         regularly doesorsolicitsbusiness,orengagesin any otherpersistentcourse ofconduct,orderives
         substantialrevenue from goodsused orconsum ed orservicesrendered in thisCom monw ealth'
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    5. CausinginjuryinthisCommonwealthtoanypersonbybreachofwarrantyexpresslyorimpliedlymade
        in the sale ofgoodsoutsidethisComm onwealth w hen hem ightreasonably have expected such person to
        use,consum e,orbe affected by the goodsin thisCom m onw ealth,provided thathealso regularly doesor
        solicitsbusiness,orengagesin any otherpersistentcourse ofconduct,orderives substantialrevenue
        f'
         rom goodsused orconsum ed orservicesrendered in thisCom m onw ealth;
         Having an interestin,using,orpossessing realproperty in thisCom monwealth;
         Contracting to insure any person,property,orrisk located w ithin the Com m onwealth atthe tim e of
         contracting;or
    8. (ii).Havingbeen ordered topayspousalsupportorchildsuppol'tpursuanttoan orderenteredby any
       courtofcompetentjurisdictioninthisCommonwealthhavinginpersonam jurisdictionoversuchperson.
       Hayjpg inçurredaliability fortaxes,fipes,penalties,interest,orotherchargesto anypolitical
         subdivision ofthe Com m onwea1th.


DUE DILIGENCE REQUIREM ENT:
lfbox number2 ischecked,thefollow ing provision applies:

    W hen theperson to beselwed isaresident,the signature ofan attorney,parly oragentoftheperson seeking
scrvice on such affidavitshallconstim te a certificate by him thatprocesshasbeen delivered to the sherifforto a
disinterestedpersonaspelnnittedby j 8.01-293 forexecutionand,ifthesheriffordisinterestedpersonwas
unableto executesuch service,thattheperson seeking service hasm adeû bona tide attemptto determ ine the
actualplace ofabode orlocation ofthe person to beserved.



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